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     Hefner, Joshua Polson, and Charlotte Wells, on
 7   behalf of themselves and all others similarly
     situated
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15
16                             UNITED STATES DISTRICT COURT

17                                      DISTRICT OF ARIZONA

18   Victor Parsons; Shawn Jensen; Stephen Swartz;           No. CV 12-00601-PHX-DKD
     Dustin Brislan; Sonia Rodriguez; Christina
19   Verduzco; Jackie Thomas; Jeremy Smith; Robert
     Gamez; Maryanne Chisholm; Desiree Licci; Joseph          DECLARATION OF
20   Hefner; Joshua Polson; and Charlotte Wells, on           DAVID C. FATHI
     behalf of themselves and all others similarly
21   situated; and Arizona Center for Disability Law,
22                        Plaintiffs,
23           v.
24   Charles Ryan, Director, Arizona Department of
     Corrections; and Richard Pratt, Interim Division
25   Director, Division of Health Services, Arizona
     Department of Corrections, in their official
26   capacities,
27                        Defendants.
28

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 1   I, DAVID C. FATHI, DECLARE:
 2            1.        I am the Director of the ACLU National Prison Project, and am an attorney
 3   admitted pro hac vice in this matter, and co-lead counsel for the plaintiff class. I have
 4   personal knowledge of the matters set forth herein and could testify competently thereto.
 5            2.        As I stated in the course of the April 11, 2018 status hearing, Angela Fischer
 6   has emailed to Plaintiffs’ counsel documents in addition to those appended as exhibits to
 7   my April 6, 2018 declaration (Doc. 2742). Attached hereto as Exhibit 1 and Bates
 8   numbered Fischer 039-137 are true and correct redacted copies of all documents provided
 9   to Plaintiffs’ counsel by Ms. Fischer which have not previously been provided to the
10   Court.
11            I declare under penalty of perjury that the foregoing is true and correct.
12            Executed this 13th day of April, 2018, at Washington, DC.
13
                                                            s/ David C. Fathi
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                                                            courts.
22                                                         **Admitted pro hac vice
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      Case 2:12-cv-00601-ROS Document 2763 Filed 04/13/18 Page 3 of 5



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      Case 2:12-cv-00601-ROS Document 2763 Filed 04/13/18 Page 4 of 5



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      Case 2:12-cv-00601-ROS Document 2763 Filed 04/13/18 Page 5 of 5



 1                               CERTIFICATE OF SERVICE
 2           I hereby certify that on April 13, 2018, I electronically transmitted the above

 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a

 4   Notice of Electronic Filing to the following CM/ECF registrants:

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22                                                              s/ A. Lin

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